                      Case 6:24-mj-00006-MK           Document 1            Filed 01/12/24         Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    District
                                              __________     of Oregon
                                                         District of __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )                  6:24-mj-00006-MK
                                                                  )
                     ELIZABETH WEST                               )
                                                                  )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               September 26, 2023              in the county of                  Lane          in the
                       District of          Oregon            , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 875(c)                           Interstate Threatening Communications




         This criminal complaint is based on these facts:
The attached affidavit of Special Agent Damara Gonzalez, which is incorporated herein.




         ✔ Continued on the attached sheet.
         u

                                                                           /s/ Damara Gonzalez, per rule 4.1

                                                                                             Complainant’s signature

                                                                                   Damara Gonzalez, Special Agent, FBI
                                                                                               Printed name and title

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               3:35pm
WHOHSKRQHDWBBBBBBBBDPSP
         January 12, 2023
Date:
                                                                                                 Judge’s signature

City and state:                                                                              Mustafa T. Kasubhai
                                                                                               Printed name and title
